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Attorneys for Franklin Building Supply Co.

                       IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF IDAHO

 IN RE:
                                                      CASE NO. 22-00071-NGH
                                                      (Chapter 11)
 INNOVATIVE BUILDING & REMODELING,
                                                      NOTICE OF PERFECTION OF
                            Debtor.                   LIEN


        COMES NOW, Franklin Building Supply Co. (“Franklin”) by and through its counsel of

record and hereby provides notice pursuant to 11 U.S.C. § 546(b) of its perfection of its Mechanics

and Materialmen’s Lien, copies of which are attached hereto as Exhibit A. The real property and

improvements subject to Franklin’s Claims of Lien are described in the liens attached hereto

together with the amounts claimed.

        DATED this 7th day of March, 2022.

                                             EBERLE, BERLIN, KADING, TURNBOW,
                                             & MCKLVEEN, CHARTERED


                                             By /s/ Samuel A. Diddle
                                               Samuel A. Diddle, of the firm
                                               Attorneys for Creditor, Franklin Building Supply
                                               Co.




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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 7th day of March, 2022, I filed the foregoing
electronically through the CM/ECF system, which caused the following parties or counsel to be
served by electronic means, as more fully reflected on the Notice of Electronic Filing.

        Luke Gordon                   luke@gordondelic.com; melody@gordondelic.com
        Brett R. Cahoon               ustp.region18.bs.ecf@usdoj.gov

      AND I FURTHER CERTIFY that on such date I served the foregoing on the following
non-CM/ECF Registered Participant(s) in the manner indicated:

        Via first class mail, postage prepaid addressed as follows:

        Dustin and Angelica Collins
        547 Welch Street
        Meridian, ID 83646

                                                       /s/ Samuel A. Diddle
                                                     Samuel A. Diddle




NOTICE OF PERFECTION OF LIEN - 2
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